Case 17-16011        Doc 184    Filed 02/28/18 Entered 02/28/18 16:54:36          Desc Main
                                 Document     Page 1 of 8


                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 In re                                              Chapter 7

 I LOAD INC.,                                       Case No. 17-16011
                                                    Hon. LaShonda A. Hunt
                          Debtor.
                                                    Hearing Date: March 22, 2018
                                                    Hearing Time: 10:00 a.m.

                                    NOTICE OF MOTION

 TO:      See attached service list

         PLEASE TAKE NOTICE that on March 22, 2018 at 10:00 a.m. or as soon
 thereafter as counsel may be heard, I shall appear before the Honorable LaShonda A.
 Hunt in Courtroom 719, Dirksen Federal Courthouse, 219 South Dearborn Street,
 Chicago, Illinois and shall present the Trustee’s Motion to Approve Compromises
 with ReLoad, Inc. and Related Relief, a copy of which is attached and served upon
 you, and move for the entry of an order in conformity with the pleadings.

         AT WHICH TIME AND PLACE you may appear if you so see fit.


                                                 Ira Bodenstein (#3126857)
                                                 Shaw Fishman Glantz & Towbin LLC
                                                 321 North Clark Street, Suite 800
                                                 Chicago, IL 60654



                                CERTIFICATE OF SERVICE
         Ira Bodenstein certifies that he caused to be served a true copy of the above and
 foregoing notice and attached pleadings upon the CM/ECF Electronic Mail Notice List
 via the CM/ECF system and upon the attached service list by U.S. Mail, on this 28th day
 of February, 2018.

                                               /s/ Ira Bodenstein




 {12255-001 MOT A0500136.DOC}
Case 17-16011        Doc 184    Filed 02/28/18 Entered 02/28/18 16:54:36               Desc Main
                                 Document     Page 2 of 8


                  Mailing Information for Case 17-16011

 Electronic Mail Notice List

 The following is the list of parties who are currently on the list to receive email
 notice/service for this case.

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 {12255-001 MOT A0500136.DOC}
Case 17-16011        Doc 184    Filed 02/28/18 Entered 02/28/18 16:54:36     Desc Main
                                 Document     Page 3 of 8


        Jennifer M Rinn Jennifer@rinnrichmanlaw.com
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        Mark R Zito mzito@jz-llc.com

 Via Regular U.S. Mail

 Michael J Goldstein, Esq.                   BMW Financial Services NA, LLC
 77 W. Washington, Suite 900                 P.O. Box 165028
 Chicago, IL 60602                           Irving, TX 75016

 Mercedes-Benz Financial Services USA        Department of Treasury
 LLC                                         Internal Revenue Service
 c/o BK Servicing, LLC                       P.O. Box 7346
 P.O. Box 131265                             Philadelphia, PA 19101-7346
 Roseville, MN 55113-0011

 Berkshire Hathaway Homestate Companies      New Jersey Turnpike Authority
 c/o Jonathan Neil & Assoc., Inc.            Mark Schneider, Esq.
 P.O. Box 7000                               581 Main Street
 Tarzana, CA 91357                           P.O. Box 5042
                                             Woodbridge, NJ 07095

 Illinois Department of Employment           Ariel Weissberg
 Security                                    Weissberg & Associates, Ltd.
 33 South State Street                       401 S. LaSalle Street
 Chicago, IL 60603                           Suite 403
 Attn: Bankruptcy Unit, 10th Floor           Chicago, IL 60605




 {12255-001 MOT A0500136.DOC}
Case 17-16011        Doc 184      Filed 02/28/18 Entered 02/28/18 16:54:36         Desc Main
                                   Document     Page 4 of 8


                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 In re                                               Chapter 7

 I LOAD, INC.,                                       Case No. 17-16011
                                                     Hon. LaShonda A. Hunt
                          Debtor.
                                                     Hearing Date: March 22, 2018
                                                     Hearing Time: 10:00 a.m.

              TRUSTEE’S MOTION TO APPROVE COMPROMISES WITH
                   RELOAD, INC. AND FOR RELATED RELIEF

         Ira Bodenstein, not individually but solely as the duly appointed chapter 7

 trustee (the “Trustee”) of the bankruptcy estate of I Load, Inc. (the “Debtor” or “I

 Load”), pursuant to 11 U.S.C. §§ 105 and 363 and Fed. R. Bankr. P. 9019, hereby

 moves for entry of an order approving a settlement that he reached with ReLoad, Inc.,

 ReLoad LLC, Preston Carter, Adam White and James Elsea (collectively, “Settling

 Defendants”). In support of the Motion, the Trustee respectfully states as follows:

                                JURISDICTION AND VENUE

         1.       This Court has jurisdiction over the Motion under 28 U.S.C. §§ 157 and

 1334, and Internal Operating Procedure 15 (a) of the United States District Court for the

 Northern District of Illinois.

         2.       Venue of this proceeding and the Motion is proper in this District

 pursuant to 28 U.S.C. § 1408 and 1409.

         3.       The statutory bases for the relief requested herein are 11 U.S.C. §§ 105,

 363 and Federal Rules of Bankruptcy Procedure 9019.

                                            Background
         1.       On May 23, 2017, the Debtor filed its voluntary Chapter 11 bankruptcy

 case in this Court (the “Case”) [Dkt. No. 1].
 {12255-001 MOT A0500136.DOC}
Case 17-16011           Doc 184   Filed 02/28/18 Entered 02/28/18 16:54:36            Desc Main
                                   Document     Page 5 of 8


           2.       On July 19, 2017, the Case was converted to Chapter 7. [Dkt. No. 99].

           3.       The Trustee was thereafter appointed successor trustee in the Case. [Dkt.

 No. 128].

           4.       On May 4, 2017, FleetOne Factory, LLC and WEX Bank instituted an

 action against the Settling Defendants, among others, alleging fraudulent transfers of

 assets belonging to I Load. The case is currently pending as Case No. 17-cv-03392 in the

 United States District Court for the Northern District of Illinois (the “District Court

 Case”).

           5.       Subsequent to his appointment, the Trustee was substituted as a Plaintiff in

 the District Court Case on October 26, 2017.

                                            Settlement
           6.       After several rounds of negotiations, the Trustee and the Settling

 Defendants have agreed as follows:

                (i).       Within five business days of the execution of this Agreement and

 the entry of the Approval Order, the Settling Defendants will execute and provide the

 Trustee with assignments of Reload’s claims against FleetOne Factoring, LLC and WEX

 Bank, including but not limited to its asserted claims to $16,000.00 that FleetOne

 Factoring, LLC and WEX Bank are currently holding, its asserted claims for funds

 belonging to Reload currently on deposit at Bank of America, which funds Reload

 believes may be in excess of $20,000.00 (the “Assigned Claims”), and to make a lump

 sum payment to the Trustee in the amount of $14,000.00 (together with the Assigned

 Claims referred to as the “Settlement Payment”);

                (ii).      Following Reload’s assignment of the Assigned Claims, the

 Trustee agrees to prosecute and attempt to collect on the Assigned Claims in good faith.

 Should the Trustee’s collection efforts of the Assigned Claims fail to generate funds for
 {12255-001 MOT A0500136.DOC}                 2
Case 17-16011         Doc 184   Filed 02/28/18 Entered 02/28/18 16:54:36          Desc Main
                                 Document     Page 6 of 8


 the estate in the minimum amount of $16,000.00 from FleetOne Factoring, LLC and

 WEX Bank and $20,000.00 from Bank of America, the Trustee will assign any unpaid

 portion of the Assigned Claims back to Reload in exchange for Reload making a payment

 covering the delta of the claim between the amount collected by the Trustee and the

 amount anticipated in this section (by way of example, should the Trustee obtain

 $16,000.00 from FleetOne Factoring, LLC and WEX Bank but only $12,000.00 from

 Bank of America, following good faith efforts to collect the same, Reload will pay the

 $8,000.00 delta on the anticipated Bank of America claim to the Trustee.) Reload and the

 Trustee agree to execute whatever documents are reasonably necessary for transferring or

 re-transferring the Assigned Claims or portions thereof and to cooperate with each other

 with respect to any causes of action or collection efforts they may undertake to collect on

 the Assigned Claims;

             (iii).      Within five business days of the entry of the Approval Order the

 Trustee shall dismiss the District Court Case against the Defendants with prejudice; and

             (iv).       The Trustee and the Settling Defendants will exchange mutual

 releases. Attached as Exhibit 1 is a copy of the proposed Settlement Agreement between

 the Trustee and the Settling Defendants.

        7.        The Trustee has determined that the foregoing compromise, which was the

 result of arms’ length negotiations conducted in good faith, is fair and reasonable in all

 respects and represents a favorable resolution in a manner that is in the best interests of

 the Estate. Accordingly, the Trustee seeks authority to take all actions necessary to

 consummate the Settlement.

                                     Relief Requested
        8.        Fed. R. Bankr. P. 9019(a) authorizes the Court, after a hearing on such

 notice as the Court directs, to approve a compromise or a settlement. The central issue in
 {12255-001 MOT A0500136.DOC}                 3
Case 17-16011        Doc 184    Filed 02/28/18 Entered 02/28/18 16:54:36           Desc Main
                                 Document     Page 7 of 8


 approving a bankruptcy settlement is whether the settlement is in the “best interests of the

 estate.” In re Energy Co-op., Inc., 886 F.2d 921, 927-29 (7th Cir. 1989); LaSalle Nat’l

 Bank v. Holland (In re Am. Reserve Corp.), 841 F.2d 159, 161 (7th Cir. 1987). In order

 to make that determination, the Court must compare “the value of the settlement with the

 probable costs and benefits of litigating.” In re Doctors Hosp. of Hyde Park, Inc., 474

 F.3d 421, 426 (7th Cir. 2007). The approval of a settlement is committed to the sound

 discretion of the bankruptcy court. In re Commercial Loan Corp, 316 B.R. 697, 698

 (Bankr. N.D. Ill. 2004) (citing In re Andreuccetti, 975 F.2d 413, 421 (7th Cir. 1992)).

         9.       Courts primarily consider four factors in considering whether to approve

 or disapprove a settlement under Fed. R. Bankr. P. 9019(a). In re Central Ice Cream Co.,

 59 B.R. 476, 487 (Bankr. N.D. Ill. 1985), appeal dismissed, 62 B.R. 357 (N.D. 111.

 1986); In re Flight Transportation Corp., 730 F.2d 1128, 1135-36 (8th Cir. 1984). The

 factors are: (a) the likelihood of success; (b) the difficulties in collection; (c) the

 complexity of the litigation, the expense, inconvenience and delay; and (d) the paramount

 interest of the creditors in proper deference to their reasonable views. In re Central Ice

 Cream Co., 59 at 487 appeal dismissed, 62 B.R. at 357 (1986); In re Trism, Inc., 282

 B.R. 662, 668 (8th Cir. B.A.P. 2002).

         10.      In this case, the Trustee’s proposed settlement with the Settling

 Defendants is in the best interests of the Estate. The Trustee and his counsel have spent

 significant time and resources investigating the factual circumstances surrounding, and

 legal standards governing, the substance of the claims in the District Court Case. After

 assessing (i) the defenses asserted by the Settling Defendants to the asserted claims in the

 District Court Case, (ii) the anticipated litigation costs and corresponding risks involved

 in prosecuting said claims; and (iii) the fact that an immediate resolution can be achieved

 {12255-001 MOT A0500136.DOC}                  4
Case 17-16011        Doc 184    Filed 02/28/18 Entered 02/28/18 16:54:36               Desc Main
                                 Document     Page 8 of 8


 through the settlement, the Trustee has concluded that the settlement is fair in all respects

 and represents a favorable resolution in a manner that is consistent with the best interests

 of the Estate and its creditors. Finally, the settlement does not conflict with any provision

 of the Bankruptcy Code or applicable non-bankruptcy law.

                                           Notice
         11.      Notice of this Motion has been served upon: the United States Trustee and

 all parties requesting notice in the Case via the ECF/CM system, as well as on counsel for

 the Settling Defendants and all creditors not receiving ECF notice who have filed proofs

 of claim in the case by U.S. mail and email. The Trustee respectfully submits that no

 further notice is required.

                                               Respectfully submitted,

                                               Ira Bodenstein, not personally, but as
                                               chapter 7 trustee for the estate of I Load,
                                               Inc.


 Dated: February 28, 2018                      By:     /s/ Ira Bodenstein, Trustee
                                                                One of his attorneys



 Ira Bodenstein (#3126857)
 Shaw Fishman Glantz & Towbin LLC
 321 North Clark Street, Suite 800
 Chicago, IL 60654
 Telephone: (312) 276-1334




 {12255-001 MOT A0500136.DOC}                  5
